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     On behalf of JULIO A. CASl'lLì-O, Clerk of the District of Columbia Court of Appeals,
                      the District of Columbia Bar does heteby certify that




 was duly qualified and admitted on February 41 2013 as an attorney and counselor entitled
  to practice before this Court; and is, on the date indicated below, an Active member in
                                   good standing of this Bat.




                                                                       In Testimony Wheteof,
                                                                   I have heteunto subscribed my
                                                                  name and affixed the seal of this
                                                                  Court at the City of Washington,
                                                                     ' D.Ç.,, on May?,3r-2018.
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                                                                   \ - Jul-to A. cASTILLo
                                                                         Clerk of the Court




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                                                                                I)istrict r¡f (-olumbia Bar \fcmbcrshilr




For questions or concerns, please contact the D.C. Bat Membership Office at202-626-3475 or email
                                   memberservices@dcbar.org.
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                   Gert¡f¡cate of Adm ission
                    To the Bar of lllinois
l, Carolyn Taft Grosboll, Clerk of the Supreme Court of lllinois, do hereby certify that



                                DanielVernon Dorris


has been duly licensed and admitted to practice as an Attorney and Counselor at
Law within this State; has duly taken the required oath to support the
CONSTITUTION OF THE UNITED STATES and of the STATE OF lLLlNOlS, and
also the oath of office prescribed by law, that said name was entered upon the Roll
of Attorneys and Counselors in my office on 0512612011 and is in good standing, so
far as the records of this office disclose.




                                        lN WITNESS WHEREOF, I have hereunto
                                                subscribed my name and affixed the
                                                seal of said Court, this 23rd day of
                                                May, 2018.



                                                C^l"*-f"ór G"s4r(4
                                                                               Clerk,
                                                Supreme Court of the State of lllinois
